  Case 2:19-mj-00343-DEM Document 1 Filed 06/17/19 Page 1 of 2 PageID# 1


                                                                       FILED
                  IN THE   UNITED STATES   DISTRICT COURT


                 FOR THE EASTERN    DISTRICT OF VIRGINIA              JUN 1 7 2019
                             NORFOLK DIVISION
                                                              CLERK. U.S. DISTRICT COURT
                                                                      NORFOLK. VA
UNITED STATES OF AMERICA


                                       case NO.
                                       Court Date:    July 24, 2019
CHRISTINA M. LARSON


                           CRIMINAL INFORMATION


                   {Misdemeanor)-Violation No. 7668991

     THE UNITED STATES ATTORNEY CHARGES:


     That on or about May 2, 2019, at the Navy Exchange at Naval

Station Norfolk, Virginia, in the Eastern District of Virginia, the

defendant, CHRISTINA M. LARSON, did willfully and knowingly steal and

purloin property of the United States of a value less than $1,000.00.

     (In violation of Title 18, United States Code, Section 641.)


                                   Respectfully submitted,

                                   G, Zachary Terwilliger
                                   United States Attorney



                             By:    . ^ g
                                   fJaraes T. Cole
                                    Special Assistant U.S. Attorney
                                   Office of the U.S. Attorney
                                   101 West Main Street, Suite 8000
                                   Norfolk, VA 23510
                                   Ph: (757) 441-6712
                                   Fax: (757) 441-3205
                                   James.ColeQusdoj.gov
Case 2:19-mj-00343-DEM Document 1 Filed 06/17/19 Page 2 of 2 PageID# 2
